               Case 2:19-cv-01535-JCC Document 2 Filed 09/27/19 Page 1 of 3



1
2
3
4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT SEATTLE
6
7      ALEXIS DUNLAP et al.,
8                                                    CASE NO.
                                    Plaintiff (s),   2:19−cv−01535−JCC
9                          v.
                                                     ORDER REGARDING DISCOVERY
10                                                   AND DEPOSITIONS
       KING COUNTY et al.,
11
12                                Defendant (s).

13         IT IS ORDERED that:
14         (l) DISCOVERY. All discovery matters are to be resolved by agreement if
15   possible. If a ruling is needed as to any discovery questions, and counsel wish to avoid
16   the time and expenses of a written motion, they may obtain an expedited ruling through
17   a telephone conference call to the court at (206) 370−8800. The parties are notified that,
18   per Chambers practice, a law clerk will typically field the call and relate the issues to
19   Judge Coughenour for his consideration.
20         (2) DEPOSITIONS. Depositions will be conducted in compliance with the
21   following rules:
22               (a) Examination. If there are multiple parties, each side should ordinarily
23         designate one attorney to conduct the main examination of the deponent, and any
24         questioning by other counsel on that side should be limited to matters not
25         previously covered.
26               (b) Objections. The only objections that should be raised at the deposition

     ORDER REGARDING DISCOVERY AND DEPOSITIONS − Page 1
               Case 2:19-cv-01535-JCC Document 2 Filed 09/27/19 Page 2 of 3



1          are those involving a privilege against disclosure, or some matter that may be
2          remedied if presented at the time (such as the form of the question or the
3          responsiveness of the answer), or that the question seeks information beyond
4          the scope of discovery. Objections on other grounds are unnecessary and should
5          generally be avoided. All objections should be concise and must not suggest
6          answers to, or otherwise coach, the deponent. Argumentative interruptions
7          will not be permitted.
8                (c) Directions Not to Answer. Directions to the deponent not to answer
9          are improper, except on the ground of privilege or to enable a party or deponent
10         to present a motion to the court or special master for termination of the deposition
11         on the ground that it is being conducted in bad faith or in such a manner as
12         unreasonably to annoy, embarrass or oppress the party or the deponent, or for
13         appropriate limitations upon the scope of the depositions (e.g., on the ground that
14         the line of inquiry is not relevant nor reasonably calculated to lead to the
15         discovery of admissible evidence). When a privilege is claimed, the witness should
16         nevertheless answer questions relevant to the existence, extent or waiver of the
17         privilege, such as the date of the communication, who made the statement in
18         question, to whom and in whose presence the statement was made, other persons to
19         whom the statement was made, other persons to whom the contents of the
20         statement have been disclosed, and the general subject matter of the statement.
21               (d) Responsiveness. Witnesses will be expected to answer all questions
22         directly and without evasion, to the extent of their testimonial knowledge, unless
23         directed by counsel not to answer.
24               (e) Private Consultation. Private conferences between deponents and
25         their attorneys during the actual taking of the deposition are improper, except
26         for the purpose of determining whether a privilege should be asserted. Unless

     ORDER REGARDING DISCOVERY AND DEPOSITIONS − Page 2
               Case 2:19-cv-01535-JCC Document 2 Filed 09/27/19 Page 3 of 3



1          prohibited by the court for good cause shown, such conferences may, however,
2          be held during normal recesses and adjournments.
3                (f) Conduct of Examining Counsel. Examining counsel will refrain from
4          asking questions he or she knows to be beyond the legitimate scope of discovery,
5          and from undue repetition.
6                (g) Courtroom Standard. All counsel and parties should conduct
7          themselves in depositions with the same courtesy and respect for the rules that are
8          required in the courtroom during trial.
9          (3) RESPONSIBILITY OF PLAINTIFF'S COUNSEL. This order is issued at
10   the outset of the case, and a copy is delivered by the clerk to counsel for plaintiff.
11   Plaintiff's counsel (or plaintiff, if pro se) is directed to deliver a copy of this order to
12   each other party within ten (l0) days after receiving notice of that party's appearance.
13
14         DATED: September 27, 2019
15
16
17                                                  /s/ John C. Coughenour
                                                    John C. Coughenour
18                                                  United States District Judge
19

20
21
22
23
24

25
26

     ORDER REGARDING DISCOVERY AND DEPOSITIONS − Page 3
